Case 17-01652-jw                    Doc 23           Filed 06/07/17 Entered 06/07/17 14:42:02                                        Desc Main
                                                     Document      Page 1 of 11

                                                        EXHIBIT A TO SC LBR 3015-2

                                                 UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF SOUTH CAROLINA

IN RE: MILAGROS CARMEN ROSARIO                                              CASE NO: 17-01652
                                                                            CHAPTER: 13

                                                                    NOTICE OF PLAN MODIFICATION BEFORE
                                                                    CONFIRMATION, MOTIONS TO VALUE SECURITY,
                                                                    AVOID JUDICIAL LIEN, AVOID A NONPURCHASE-
                                                                    MONEY, NONPOSSESSORY SECURITY INTEREST
                                                                    AND LIEN, AND/OR TO ASSUME OR REJECT AN
                                                          DEBTOR(S) EXECUTORY CONTRACT/UNEXPIRED LEASE
  I. NOTICE TO CREDITORS AND PARTIES IN INTEREST: The above-captioned debtor1 previously proposed
  a chapter 13 plan and motions; the debtor now moves, pursuant to 11 U.S.C. § 1323 and Fed. R. Bankr. P.
  2002(a)(5) and 2002(b), to modify the proposed plan and motions as detailed below:
Changes Made: conduit language included / corrected loan modification language
Reason(s) for Change: mortgage past due over 6 months (conduit required) / correction
Specific Creditor(s) Directly Affected by Change: Federal National Mortgage / Shellpoint
Are Unsecured Creditors Adversely Impacted (i.e. decreased dividend): ______Yes                                 X      No

This modification to the chapter 13 plan and motions, and the remaining terms of the chapter 13 plan and motions set
forth below, may affect your rights. Failure to object may constitute an implied acceptance of and consent to the
relief requested.




 1 When used herein, the term debtor shall apply as applicable either in the singular or in the plural, if there are joint debtors in the case.
Case 17-01652-jw               Doc 23           Filed 06/07/17 Entered 06/07/17 14:42:02                                       Desc Main
                                                Document      Page 2 of 11
                                                     EXHIBIT A TO SC LBR 3015-1

                                               UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF SOUTH CAROLINA

IN RE:                                                                          CASE NO: 17-01652
DEBTOR(S)                                                                       CHAPTER: 13

MILAGROS CARMEN ROSARIO                                                        NOTICE, AMENDED CHAPTER 13 PLAN,
                                                                               MOTIONS TO VALUE SECURITY, AVOID
                                                                               JUDICIAL LIEN, AVOID A NONPURCHASE-
                                                                               MONEY, NONPOSSESSORY
                                                                               NONPOSSESSORY SECURITY
                                                                               INTEREST AND LIEN, AND/OR TO ASSUME
                                                     DEBTOR(S)                 OR REJECT AN EXECUTORY
                                                                               CONTRACT/UNEXPIRED LEASE

I. NOTICE TO CREDITORS AND PARTIES IN INTEREST: The debtor2 has filed a chapter 13
bankruptcy case and listed you as a creditor or interested party. The debtor has filed the following chapter
13 plan and motions which may affect your rights. Failure to object may constitute an implied
acceptance of and consent to the relief requested in this document.

          A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or modifications to the
Court’s form plan (See exhibits to SC LBR 3015-1 and 3015-2, “SC LBR” refers to the SC Local
Bankruptcy Rules, available at www.scb.uscourts.gov) are highlighted by italics. Deletions are noted as
“Not Applicable” or by striking through the deleted provisions. If changes are substantial or if an
alternative plan is proposed, a cover sheet that summarizes and identifies the changes shall be filed and
served herewith.

           B. DEADLINE FOR FILING OBJECTIONS, NOTICE OF HEARING ON CONFIRMATION
OF CHAPTER 13 PLAN AND MOTIONS: Objections to the motions and any provision of the plan must
be made in accordance with SC LBR 9014-1, properly served, and filed with the United States Bankruptcy
Court, 1100 Laurel Street, Columbia, SC 29201, within twenty-eight (28) days from the date this document
is filed. Timely objections will be heard at the confirmation hearing, notice of which is given separately in
the Notice of Meeting of Creditors. If a timely objection is filed after the confirmation hearing, a separate
hearing on the objection will be scheduled and notice of such a hearing will be given. If no timely objection
is filed, the Court, upon recommendation of the chapter 13 trustee and without further hearing or notice,
may enter an order confirming the plan and granting the motions.

II. MOTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A
NONPURCHASEMONEY, NONPOSSESSORY SECURITY INTEREST AND LIEN, AND/OR TO
ASSUME OR REJECT AN EXECUTORY CONTRACT/UNEXPIRED LEASE. The debtor requests
that confirmation of this plan alter the rights of the following creditor:




            2     When used herein, the term “debtor” shall apply as applicable either in the singular or in the plural, if there are joint debtors in
the case.
Case 17-01652-jw                Doc 23          Filed 06/07/17 Entered 06/07/17 14:42:02                                         Desc Main
                                                Document      Page 3 of 11


          A. Nonpossessory, Nonpurchase-Money Lien: The debtor moves, pursuant to 11 U.S.C.
 § 522(f), to avoid the following nonpossessory, nonpurchase-money security interest and lien in household
 goods:


  Name of                              Value of           Total of        Exemption       Estimated          Security interest    Security interest to
  creditor                             Debtor’s           all other       claimed         security           Not avoided          be avoided
  and                                  interest in        liens                           interest/debt      (see IV(B)(4)        (see IV(E) below)
  description                          property                                                              below)
  of
  property
  securing
  lien
  -NONE-



           B. Judicial Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the following
 judicial lien:3
  Name of creditor and      Estimated Judicial Total of senior/           Applicable Exemption    Value of debtors Judicial lien       Judicial lien
  description of property   lien               unavoidable liens          and Code Section        interest in      not avoided         avoided
  securing lien                                                                                   property
  -NONE-


          C. Valuation of Security: The debtor moves, in accordance with 11 U.S.C. § 506, to establish the
 value of a lien as follows:

  Name of creditor and              Value of               Holder and amount of        Estimate of         Value of lien         Unsecured claim
  description of property           Debtor’s interest      superior liens              creditor’s          (see                  after valuation
  securing lien                     in property                                        claim               IV(B)(4)              (see IV(E) below)
                                                                                                           below)
  -NONE-




          D. Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor moves for the
 assumption of the following executory contract and/or unexpired lease. The debtor agrees to abide by all
 terms of the agreement and to cure any pre-petition arrearage or default in the manner below. Any
 executory contract or unexpired lease not specifically mentioned is rejected.

  Name of Creditor and lease       Amount of            Estimated             Cure Provisions for any             Regular payments to be paid
  or contract to be assumed        regular              amount of             default paid by (Debtor or          by Debtor directly to
                                   payment              Default               trustee)                            creditor beginning
                                                        (state if none)                                           (month/year)
  -NONE-




 III. THE CHAPTER 13 PLAN: PAYMENT OBLIGATIONS OF THE DEBTOR.

          A. Payments from the debtor to the chapter 13 trustee (the “trustee”): The debtor submits to the
 supervision and control of the trustee all or such portion of future earnings or other future income as is
 necessary for the execution of the plan. In addition, the debtor will pay to the trustee any portion of a
 recovery under a pre-petition claim or cause of action that constitutes disposable income or is not exempt.

          As provided for in Operating Order of the judge assigned to this case (“Operating Order”), which is
 incorporated herein by reference, this plan provides for the Debtor to make Mortgage Payments to the Trustee on a
 conduit basis. In the event of a conflict between this document and the Operating Order, the terms of the Operating
 Order control.



           3          For co-owned property, see In re Ware, 274 B.R. 206 (Bankr. D.S.C. 2001) and Exhibit C to SC LBR 4003-2.
Case 17-01652-jw           Doc 23        Filed 06/07/17 Entered 06/07/17 14:42:02                       Desc Main
                                         Document      Page 4 of 11
         The debtor shall pay to the trustee the sum of $ 1160.00 per month for a period of        60    months, unless all
 allowed claims (other than long-term claims) are fully paid pursuant to the plan.

         Except for the initial disbursement after confirmation, which is addressed in IV.A.1 below, the Trustee shall
 apply any funds received in the order set forth below:

          1.     Trustee percentage fees;
          2.     Ongoing Conduit Mortgage Payments;
          3.     All other secured claims (including but not limited to Pre-petition Mortgage Payments, Gap Payments,
                 and Post-petition Charges) and Debtor’s attorney’s fees included in the Chapter 13 Plan, on a pro rata
                 basis.
          4.     Priority unsecured claims on a pro rata basis.
          5.     General unsecured claims on a pro rata basis.

           Nothing in this plan should be interpreted to impair the right of any party in interest to seek the appropriate
 relief from the Court as a result of the Debtor’s failure to make Conduit Mortgage Payments of Plan Payments to the
 Trustee.

           The Trustee is authorized to increase Debtor’s monthly plan payment by the amount necessary to fund the
 Plan if the Plan becomes no longer mathematically viable due to the filing of any of the following:

          1.     Notice of Mortgage Payment Change;
          2.     A Compliant POC or any amendments thereto; or
          3.     Notice of Post-petition Fees, Expenses, and Charges (subject to IV(B)(3)(d) below).

         The Trustee may make these payment changes by filing a Trustee’s Notice of Plan Payment Change and
 providing notice to the Debtor and Debtor’s attorney.

          An increase in Conduit Mortgage Payments may decrease the dividend, if any, paid to general unsecured
 creditors. Unless the Debtor is required to pay specific dollar amounts to priority and/or general unsecured creditors
 under 11 U.S.C. §1325(a) or (b), the Trustee is not required to seek an increase in plan payments in order to achieve or
 maintain a certain dividend to general unsecured creditors.

        Nothing herein shall prevent the Debtor from seeking a reduction in plan payments in the event the Conduit
 Mortgage Payment decreases for any of the reasons listed in this section.

          B. Payments from the debtor directly to creditors: The debtor shall pay all post-petition priority
 obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
 on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due,
 unless otherwise ordered by the Court. The debtor may be required to pay some or a portion of pre-petition
 debts directly to a creditor in addition to required payments to the trustee, as indicated in paragraph II(D)
 above and/or in the paragraphs that follow.

 IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of
 claim, including adequate supporting documentation, must be filed with the Court. If a claim designated in
 this plan as secured is filed as an unsecured claim and the plan is confirmed, the claim may be treated as
 unsecured for purposes of plan distributions by the trustee. If a creditor files a proof of claim alleging that
 the claim is secured, but does not timely object to the confirmation of the plan and the claim is treated as
 unsecured in a confirmed plan, the claim may be treated as unsecured for purposes of plan distributions by
 the trustee. Confirmation of this plan does not bar a party in interest from objecting to a claim. The
 trustee, after the deduction of the trustee's commission and expenses, or the debtor, as indicated, shall make
 payment as follows:

                   A. Attorney for the debtor:

                    1. The debtor and the debtor’s attorney have agreed to an attorney’s fee in the amount of
          $3,700 for the services identified in the Rule 2016(b) disclosure statement filed in this case. The
          amount of $685 was paid prior to the filing of the case. The remaining fee shall be disbursed by
          the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise,
Case 17-01652-jw            Doc 23        Filed 06/07/17 Entered 06/07/17 14:42:02                        Desc Main
                                          Document      Page 5 of 11
          the trustee shall disburse $1,000.00 to the attorney from the initial disbursement. 4 Thereafter, the
          balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then
          due, with all funds remaining each month after payment of allowed secured claims and pre-
          petition arrearages on domestic support obligations. In instances where an attorney assumes
          representation in a pending pro se case and a plan is confirmed, a separate order may be entered
          by the Court, without further notice, which allows for the payment of a portion of the attorney’s
          fees in advance of payments to creditors.

                    2. If, as an alternative to the above treatment, the debtor’s attorney has received a
          retainer and cost advance and agreed to file fee applications for compensation and expenses in this
          case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in trust until fees and
          expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney
          has received $______ and for plan confirmation purposes only, the fees and expenses of counsel
          are estimated at $_______ or less.

                    B. Secured Creditor Claims: The plan treats secured claims as follows:

                    1. General Provisions: The terms of the debtor’s pre-petition agreement with a secured
          creditor shall continue to apply except as modified by this plan, the order confirming the plan, or
          other order of the Court. Holders of secured claims shall retain liens to the extent provided by 11
          U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan
          shall timely satisfy any liens in the manner required by applicable law or order of this Court. Any
          creditor holding a claim secured by property that is removed from the protection of the automatic
          stay by order, surrender, or through operation of the plan will receive no further distribution from
          the chapter 13 trustee on account of any secured claim. This also applies to creditors who may
          claim an interest in, or lien on, property that is removed from the protection of the automatic stay
          by another lienholder or released to another lienholder, unless the Court orders otherwise. Any
          funds that would have been paid to any such creditor will be distributed according to the
          remaining terms of the plan. (The preceding language does not apply if the sole reason for its
          application arises under 11 U.S.C. § 362(c)(3) or (c)(4)). Any creditor affected by this provision
          may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the
          removal of the property from the protection of the automatic stay. Secured creditors that will be
          paid directly by the debtor may send standard payment and escrow notices, payment coupons, or
          inquiries about insurance, and such action will not be considered a violation of the automatic stay.

                    2. Long-term or mortgage debt. No default:
                    The debtor is current on obligations to    and will continue regular payments directly to that
                    creditor. Description of collateral:

 The Debtor(s)’ plan relies upon loss mitigation or a consensual mortgage loan modification (LM/MM) of the
 mortgage loan secured by the following property:

                    DEBTORS RESIDENCE - 220 TRADITIONS CIRCLE, COLUMBIA SC 29229

 If LM/MM is approved, the Debtor(s) shall directly pay SHELLPOINT’s allowed mortgage claim, including any
 prepetition and post petition amounts. No payment will be made by the Trustee on this secured claim.

 In the event that (1) the LM/MM request (and any necessary documentation) is not submitted or is denied or (2) the
 Debtor(s) fail to timely make any required Trial Period Plan Payments, the Mortgage Creditor may, after 14 days’
 written notice to the Debtor(s), Debtor(s)’ Counsel, and the Trustee, submit an affidavit and proposed Order seeking
 relief from the stay. However, the Mortgage Creditor may not obtain relief until its final consideration of LM/MM is
 concluded and reported to the Debtor(s) and Debtor(s)’ Counsel.




          4          The chapter 13 trustee shall not at any time disburse to the debtor’s attorney more than: (a) the unpaid
 balance of (1) the fee to be paid under the plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and
 authorized pursuant to paragraph 2 herein, plus (b) any supplemental fee then applied for and authorized under the terms of
 the applicable Procedures for Approval of Attorney’s Fees in Chapter 13 Cases.
Case 17-01652-jw            Doc 23        Filed 06/07/17 Entered 06/07/17 14:42:02                         Desc Main
                                          Document      Page 6 of 11

                    3. Mortgage payments:

                    Debtor’s property - 919 Mary Street, Utica NY 13501

                    Ongoing mortgage payments will be paid by the Trustee to Mortgage Creditor Federal National
 Mortgage , on a conduit basis. For so long as the Debtor remains current in Payments by the Trustee, the Mortgage
 Creditor, any servicer, trustee for the loan, or successor-in-interest, shall not: (1) declare the loan in default; (2) impose
 any Post-petition Charge; or (3) seek to recover or assess late fees or penalties. Payments from the Debtor to the
 Trustee that are returned for insufficient funds or for other reasons by the Trustee’s financial institution will be deemed
 “not received”. The Mortgage Creditor shall apply all Trustee disbursements as designated by the Trtustee, in
 accordance with the classes below:

                    a. Pre-petition Arrears.

                   To Federal National Mortgage : The Trustee shall pay the Pre-petition arrearage (including
 month of filing or conversion) as stated in the Creditor’s allowed claim or as otherwise ordered by the court at the rate
 of $258 or more per month, along with 0% interest.

                    b. Conduit Mortgage Payments (ongoing Post-petition Monthly Mortgage Payments)

                    Beginning in the third calendar month following the filing of the Petition, or conversion, or
 occurrence of any other event requiring the Debtor to make Conduit Mortgage Payments, the Trustee shall pay the
 ongoing Mortgage Payments due to Mortgage Creditors as indicated in the chart below. Unless otherwise ordered,
 Conduit Mortgage payments will be retained by the Trustee until after confirmation of the plan and until such time as
 either the Debtor files a proof of claim for the Mortgage Creditor pursuant to 11 U.S.C. §501(c), or the Mortgage
 Creditor files a proof of claim in compliance with the Official Forms. Mortgage Creditors shall apply the payments
 designated by the Trustee as Conduit Mortgage Payments solely to Post-petition obligations that accrue during or after
 the month specified herein. If the Conduit Mortgage Payments are placed into a suspense, forbearance, or similar
 account, they will be deemed to have been timely applied pursuant to this subsection. Mortgage creditors shall file and
 serve a Notice of Mortgage Payment Change in accordance with the applicable Official Form, within the deadline and
 in compliance with the service requirements set forth in F.R.B.P 3002.1(b), to reflect any changes in the monthly
 mortgage payments or escrow amounts that occur during the term of the plan.


  Mortgage Creditor’s Name,                 Ongoing Monthly Mortgage                  Does the Monthly Mortgage
  including servicer/trustee as             Payment Amount                            Payment include escrows for:
  applicable at the time of last notice                                               1) Real estate taxes? Yes/No; b)
                                                                                      Homeowners’ insurance? Yes/No;
                                                                                      Amount: $____

  FEDERAL NATIONAL                          $532.66                                   a) YES
  MORTGAGE                                                                            b) YES

 * Amounts listed above will be deemed to be the amount of the ongoing Monthly Mortgage Payment. The Debtor
   asserts that the above amount is correct as of the last written notice (including escrow amounts, if applicable). Upon
   the filing of a Proof of Claim in compliance with the Official Forms and F.R.B.P. Rule 3002 or 3004, and twenty-one
   (21) days after the filing of a Notice of Mortgage Payment Change filed in compliance with the deadlines and
   service requirements set forth in F.R.B.P. Rule 3002.1(b) and using the applicable Official Forms, the Trustee shall
   be authorized to disburse the monthly payment amount provided by the Mortgage Creditor, if that amount is higher
   than stated in the plan.

                    c. Gap Payments:

                    The Post-petition Mortgage Payments for the two (2) months immediately after the petition is filed
 or the case is converted to Chapter 13, or the two (2) months immediately after the occurrence of any other event
 requiring the Debtor to make Conduit Mortgage Payments, shall be cured over the full term of the plan at the rate of
 $18 or more per month, along with 0.0% interest, if applicable.

                    d. Post-petition Charges:

                  This class includes all payments due to the Mortgage Creditor as described in any Notice of Post-
 petition Mortgage fees, Expenses, and Charges under F.R.B.P 3002.1(c) (“3002.1(c) Notice”), filed with the Court.
 The Debtor will be responsible for reviewing all filed 3002.1(c) Notices within 60 days of the date of filing of such
Case 17-01652-jw           Doc 23        Filed 06/07/17 Entered 06/07/17 14:42:02                       Desc Main
                                         Document      Page 7 of 11
 notice. If the Debtor fails to object within 60 days, then the Trustee may pay these amounts as filed, on a pro rata basis
 as funds are available. The Debtor’s failure to object will be deemed as a waiver of any claim against the Trustee for
 payment of these amounts. Any request for refund of overpayment or obligation for underpayment will be the sole
 responsibility of the Debtor. Once the Trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the Debtor
 shall be directly responsible for any further Post-petition fees and charges.

                   e. Post-petition Arrears resulting from the Debtor’s post-petition delinquency in either Conduit
                   Mortgage Payments or plan payments:

                  To (Creditor Name): The Trustee shall pay the Post-petition Arrearage for the following calendar
 month(s):                  . Disbursements will be made at the rate of $        or more per month, along with
         % interest, if applicable.

                             f. Arrearage payments. The trustee shall pay the arrearage as stated in the
                   creditor’s allowed claim or as otherwise ordered by the Court to           McCabe, Trotter &
                   Beverly           at the rate of $ 40 or more per month, for 220 Traditions Circle, Columbia
                   SC 29229 , along with          0 % interest. The creditor shall apply trustee payments solely to those
                   designated arrearages, i.e., those arrearages accruing before the month specified in (b) below. For so
                   long as the debtor complies with this plan, a creditor may not declare a default based on any
                   payment delinquency to be cured by this paragraph and the creditor shall not impose any post-
                   petition fee on account of any arrearage paid by the trustee.

                            g. Maintenance of regular non-arrearage payments. Beginning          May 2017 ,
                   the Debtor shall pay directly to the creditor non-arrearage payments arising under the
                   agreement with the secured creditor. The creditor shall apply each payment under this
                   paragraph solely to post-petition obligations that accrue during or after the month
                   specified herein.


                    4. Secured portion of claims altered by valuation and lien avoidance: The trustee shall
          pay                              the sum of $             or more per month, along with           % interest until
          the secured claim of $         established above is paid in full. The remaining portion of the allowed claim
          will be treated as a general unsecured claim.

                   5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of
          lien): The trustee shall pay            the sum of $      or more per month, along with       % interest until
          the allowed secured claim is paid in full.

                   6. Surrender of property: The debtor will surrender the following property upon
          confirmation of the plan. The order confirming plan shall terminate the automatic stay as to that
          property:      JPMC Speciality Mortgage - debtor’s property - 5 Etheridge Dr, Carteret NJ
          07008        Any creditor affected by this provision may file an itemized proof of claim for any unsecured
          deficiency within a reasonable time after the surrender of the property.

                    7. Secured tax debt: The trustee shall pay                 the sum of $       or more per month until
          the            of creditor’s secured claim plus        % interest has been paid. If the lien is to be valued, the
          debtor shall file a separate motion to value the claim and establish priority of any remaining tax obligations. If
          a tax priority creditor files a claim designated as secured, is not treated as secured in this paragraph, and does
          not timely object to confirmation of this plan, then the claim may be paid as a priority claim for purposes of
          distributions from the trustee.

                   C. Priority Creditors: Priority claims shall be paid as follows:

                   1. Domestic Support Claims. 11 U.S.C. § 507(a)(1):
                            a. Pre-petition arrearages. The trustee shall pay the pre-petition domestic support
                   obligation arrearage to                    , at the rate of $   or more per month until the
                   balance,without interest, is paid in full.

                            b. The debtor shall pay all post-petition domestic support obligations as defined
                   in 11 U.S.C. § 101(14A) on a timely basis directly to the creditor.

                            c. Any party entitled to collect child support or alimony under applicable non-
                   bankruptcy law may collect those obligations coming due after this case was filed from
                   the income or assets of the debtor-parent/spouse without further order or relief from the
Case 17-01652-jw           Doc 23       Filed 06/07/17 Entered 06/07/17 14:42:02                       Desc Main
                                        Document      Page 8 of 11
                   automatic stay. (Any claim for child support or alimony due before this case was filed must be
                   collected in accordance with 11 U.S.C. § 507(a)(1) and 11 U.S.C. §1322(a)(2).)

                   2. Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507
                   priority claims on a pro rata basis.

           D. Executory Contracts and Unexpired Leases: Regular payments that arise post-petition under an
 executory contract or lease that is being assumed shall be paid directly by the debtor according to the terms
 of the contract or lease. Pre-petition defaults will be cured by payments of the sum of $       or more per month
 by the trustee or the debtor according to paragraph II(D). Claims arising from the rejection of executory contracts or
 leases shall be general unsecured claims unless otherwise ordered by the Court.


          E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claims pro
 rata by the trustee to the extent that funds are available after payment of all other allowed claims. The
 debtor does not propose to pay 100% of general unsecured claims.

 V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER
 CONFIRMATION: Upon confirmation of the plan, property of the estate will remain property of the
 estate, but possession of property of the estate shall remain with the debtor. The chapter 13 trustee shall
 have no responsibility regarding the use or maintenance of property of the estate. The debtor is responsible
 for protecting the non-exempt value of all property of the estate and for protecting the estate from any
 liability resulting from operation of a business by the debtor. Nothing herein is intended to waive or affect
 adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the
 debtor.

 Date: 06/07/17                                                        BY:/s/ JASON T. MOSS
                                                                         JASON T. MOSS
                                                                         Moss & Associates, Attorneys P.A.
                                                                         816 Elmwood Avenue
                                                                         Columbia SC 29201
                                                                         (803)933-0202
                                                                         District Court I.D. #7240
                                                                         Attorney for the Debtor




                                             CERTIFICATE OF SERVICE

         The above signing parties certify that the foregoing Notice, Plan and Related Motions was served on all
 creditors and parties in interest entitled to such notice on the above stated date. The list of the specific names
 and addresses of parties served with the plan is attached to the plan filed with the court.


 WILLIAM K. STEPHENSON, JR.
 CHAPTER 13 TRUSTEE
 ELECTRONIC SERVICE ONLY

 SEE ATTACHED LIST
Case 17-01652-jw          Doc 23       Filed 06/07/17 Entered 06/07/17 14:42:02                      Desc Main
                                       Document      Page 9 of 11

                                     UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

 IN RE: MILAGROS CARMEN ROSARIO                           CASE NO: 17-01652
                                                          CHAPTER: 13

                                                       DEBTOR’S STATEMENT
                                             DEBTOR(S) IN SUPPORT OF CONFIRMATION

         In connection with the plan dated     06/07/17     the debtor(s) hereby state that they understand the
 following:

         (1) The obligations set forth in the plan, including the amount, method, and timing of payments made to the
             trustee and/or directly to creditors;

         (2) The consequences of any default under the plan including the direct payments to creditors; and

         (3) That debtor(s) may not agree to sell property, or sell property, employ professionals, or incur debt
             (including modification of debt) during the term of the plan without the advance authorization of the
             Bankruptcy Court.


 Date    06/07/17                                     /s/ Milagros Carmen Rosario
                                                      Debtor
         Case 17-01652-jw               Doc 23        Filed 06/07/17 Entered 06/07/17 14:42:02                             Desc Main
                                                      Document     Page 10 of 11
Label Matrix for local noticing                      ATTORNEY GENERAL OF UNITED STATES                    BROCK & SCOTT, PLLC
0420-3                                               950 PENNSYLVANIA AVE, NW                             3800 FERNANDINA ROAD
Case 17-01652-jw                                     Washington DC 20530-0001                             STE 110
District of South Carolina                                                                                Columbia SC 29210-3838
Columbia
Wed Jun 7 14:40:03 EDT 2017
DAVID ROSARIO                                        FEIN SUCH KAHN & SHEPARD                             IRS
220 TRADITIONS CIRCLE                                7 CENTURY DRIVE, STE 201                             PO BOX 7346
Columbia SC 29229-8052                               Parsippany NJ 07054-4673                             Philadelphia PA 19101-7346



JOSE LUIS RODRIGUEZ                                  JPMC SPECIALITY MORTGAGE                             MCCABE, TROTTER & BEVERLY
5 ETHERIDGE DRIVE                                    7255 BAYMEADOWS WAY                                  PO BOX 212069
Carteret NJ 07008-1203                               Jacksonville FL 32256-6851                           Columbia SC 29221-2069



Jason T. Moss                                        Kathleen M Muthig                                    NCB Management Services, Inc.
Moss & Associates, Attorneys, P.A.                   Finkel Law Firm LLC                                  One Allied Drive
816 Elmwood Avenue                                   1201 Main Street                                     Trevose, PA 19053-6945
Columbia, SC 29201-2027                              Suite 1800
                                                     Columbia, SC 29201-3294

PALMER REIFLER & ASSOC                               RICHLAND COUNTY CLERK OF COURT                       RICHLAND COUNTY TREASURER
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ROSICKI ROSICKI & ASSOCIATES                         Milagros Carmen Rosario                              SC DEPT OF REVENUE
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SUPREME COURT OF NY, ONEIDA COUNTY                   William K. Stephenson Jr.                            THE SHORES AT ELDERS POND
200 ELIZABETH STREET                                 PO Box 8477                                          41 CHURCH STREET
Utica NY 13501-2265                                  Columbia, SC 29202-8477                              Cortland NY 13045-2743



US Trustee’s Office                                  US ATTORNEY’S OFFICE
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Suite 953                                            Columbia SC 29201-2862
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